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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

IN RE: MONITRONICS
INTERNATIONAL, INC.,                                        MDL NO. 1:13MD2493-IMK
TELEPHONE CONSUMER
PROTECTION ACT LITIGATION


THIS DOCUMENT RELATES TO ALL CASES


MEMORANDUM IN SUPPORT OF DEFENDANTS’ JOINT MOTION TO STAY OR, IN
   THE ALTERNATIVE, TO ADDRESS PLAINTIFFS’ MOTION FOR CLASS
         CERTIFICATION BASED ON THE CURRENT RECORD

       Defendants Monitronics International, Inc.; Versatile Marketing Solutions, Inc.; Alliance

Security, Inc.; ISI Alarms NC, Inc.; UTC Fire and Security Americas Corporation, Inc.; and

Honeywell International, Inc. (collectively, “Defendants”) move to stay this matter in its entirety

pending the Supreme Court of the United States’ rulings in Campbell-Ewald Co. v. Gomez

(“Campbell-Ewald”) and in Robins v. Spokeo, Inc. (“Spokeo”).1 In the alternative, Defendants

should be permitted to oppose Plaintiffs’ improper motion for class certification based on the

current record.

                                       INTRODUCTION

       On May 18, 2015, the Supreme Court granted certiorari in Campbell-Ewald to decide

whether a Rule 68 offer of judgment to a named plaintiff (in full satisfaction of her claim) moots

that plaintiff’s putative TCPA class claims. 768 F.3d 871, 875 (9th Cir. 2014), cert. granted, No.


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         Spokeo will address whether a federal statute, like the TCPA, can create Article III
standing by simply authorizing a remedy for a statutory violation. If the Court concludes that a
mere violation of such a statute without further proof of injury does not confer Article III
standing, plaintiffs would lack Article III standing to pursue their claims. 742 F.3d 409 (9th Cir.
2014), cert. granted, No. 13-1339, 2015 WL 1879778 (Apr. 27, 2015). Spokeo is addressed in
greater detail, infra Section III.
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14-857, 2015 WL 246885 (May 18, 2015). Should the Supreme Court rule in favor of the

Campbell-Ewald petitioners, the TCPA and class action legal landscape will be dramatically

altered. Indeed, named plaintiffs in TCPA class actions who receive Rule 68 offers will not be

able to proceed individually or as class representatives, requiring dismissal of both their

individual and class claims.2 Rule 68 offers of judgment have now been, or will soon be,

extended to each class and individual Plaintiff in the instant multi-district litigation (“MDL”).

Accordingly, if the Supreme Court deems that a Rule 68 offer for complete relief moots the

recipients’ claims, each of the class and individual Plaintiffs’ claims here will be mooted,

effectively extinguishing the pending purported class actions that form the core of this MDL.

       Defendants respectfully request that this Court enter a stay pending the Supreme Court’s

decision in Campbell-Ewald. In the eight business days since the Supreme Court granted

certiorari in Campbell-Ewald, two courts have sua sponte stayed similar TCPA class actions,

including Judge Ellis in the Eastern District of Virginia. Given the potentially dispositive nature

of the Supreme Court’s decision, a stay is warranted here to avoid the significant and potentially

unnecessary expenditure of resources by the parties and the Court to undertake fact and expert

discovery, brief and adjudicate class certification, and litigate dispositive motions.

       Plaintiffs clearly recognize that a stay is appropriate, if not inevitable, as Plaintiff Diana

Mey is also the named plaintiff (and Plaintiffs’ Liaison Counsel here is her counsel there) in one

of the cases in which the court (the United States District Court for the District of Connecticut)

granted a stay sua sponte based on Campbell-Ewald. In a desperate attempt to avoid a stay here,

the next day, Plaintiffs improperly and prematurely filed a motion for class certification. This

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         As a result, this Court is now confronted with a question of whether it retains subject
matter jurisdiction over the lawsuits that comprise this MDL. It is Defendants’ position that the
Court does not retain subject matter jurisdiction, and they are prepared to make a motion
pursuant to Fed. R. Civ. P. 12(b)(1).


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motion, however, cannot revive this Court’s subject matter jurisdiction. First, this motion is

improper and should be considered a nullity because it violates the Court’s Case Management

Order, which directs them to file their motion on (not before) September 15, 2015. Second, the

mere filing of this motion does not negate the effect of the Rule 68 offers or preclude the entry of

a stay. As the Supreme Court recognized in accepting certiorari on the questions presented in

Campbell-Ewald, the relevant inquiry is whether an offer of judgment is made before a class is

certified—not before a class certification motion is filed. Third, if the Court does not enter a

stay, the Court should reject Plaintiffs’ request to stay briefing and to conduct additional

discovery for their motion for class certification and should set a briefing schedule and hearing

date for that motion.3

                                         BACKGROUND

         In this MDL, Plaintiffs assert claims against Defendants and others alleging that they

received telemarketing phone calls in violation of the Telephone Consumer Protection Act, 47

U.S.C. §§ 227, et seq. (“TCPA”). The majority of named Plaintiffs in this action purport to bring

their claims on behalf of a putative class; certain Plaintiffs bring only individual claims. Per the

February 11, 2014 Order of this Court, MDL Dkt. 13-md-02493, ECF No. 23, at 4, Plaintiffs

disclosed in Supplemental Statements information regarding all of the allegedly unlawful calls

for which they seek to recover in this action.4


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          On the morning of May 27, 2015, counsel for the parties held a telephonic meet and
confer during which Defendants’ Liaison Counsel informed Plaintiffs’ Liaison Counsel of their
intention to move to stay the instant litigation pending the Supreme Court’s resolution of
Campbell-Ewald. Plaintiffs did not advise Defendants of their plan to file their motion for class
certification, which they filed hours later.
         4
         Plaintiffs’ Supplemental Statement (Mar. 26, 2014); Keith Finkela’s Supplemental
Statement (July 29, 2014); Plaintiffs’ Second Supplemental Statement (Aug. 13, 2014); Dakota
Dalton’s Supplemental Statement (Aug. 13, 2014); Allen Beavers’ Supplemental Statement
(Continued...)

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       The TCPA provides for statutory damages of actual monetary loss or up to $500 per call

for a negligent violation of the statute, or treble damages (up to $1,500) for a willful or knowing

violation of the statute. 47 U.S.C. §§ 227(b)(3), 227(c)(5). The statutory damages available

under the TCPA are on a per-call basis, and are not cumulative per responsible party. Martin v.

PPP, Inc., 719 F. Supp. 2d 967, 974-75 (N.D. Ill. 2010) (holding settlement offer of $1,500 to

cell phone user in putative class action satisfied entire demand for judgment based on alleged

single violation of 47 U.S.C. § 227(b)(3) and acknowledging that plaintiff could not be

separately compensated for the call by each defendant). The TCPA does not provide for

attorneys’ fees. See generally 47 U.S.C. § 227, et seq. Beyond the receipt of allegedly unlawful

telemarketing calls, Plaintiffs allege no harm or monetary loss and seek no additional damages.

       On May 18, 2015, the Supreme Court granted certiorari in Campbell-Ewald to decide:

(1) “[w]hether a case becomes moot, and thus beyond the judicial power of Article III, when the

plaintiff receives an offer of complete relief on his claim” and (2) “[w]hether the answer to the

first question is any different when the plaintiff has asserted a class claim under Federal Rule 23,

but receives an offer of complete relief before any class is certified.” Pet. For Writ of Cert.,

Campbell-Ewald Co. v. Gomez, No. 14-857, 2015 WL 241891, at *1 (Jan. 16, 2015); 768 F.3d

871, 875 (9th Cir. 2014), cert. granted, No. 14-857, 2015 WL 246885 (May 18, 2015).




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(Aug. 13, 2014); Diane Elder’s Supplemental Statement (Aug. 13, 2014); Michelle Wakeley’s
Supplemental Statement (Aug. 13, 2014); James Giles’ Supplemental Statement (Aug. 13, 2014);
Sandra Fairley’s Supplemental Statement (not dated); Merrill Primack’s Supplemental Statement
(Oct. 2, 2014); Nicholas Shreders’ Supplemental Statement (Oct. 2, 2014); Vincent Brizgys’
Supplemental Statement (Oct. 2, 2014); Jonathan Mraunac’s Supplemental Statement (Oct. 2,
2014); Craig Cunningham’s Supplemental Statement (Nov. 24, 2014); Plaintiffs’ Third
Supplemental Statement (Jan. 5, 2015); Newton Vaughan’s Supplemental Statement (Apr. 10,
2015); Plaintiffs’ Fourth Supplemental Statement (May 1, 2015).


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        On November 4, 2011, Defendant Versatile Marketing Solutions, Inc. (“VMS”) served

upon named Plaintiff Diana Mey an offer of judgment pursuant to Rule 68 that would

compensate her for all statutory penalties available in satisfaction of her claims.5 Member Case

Dkt. 11-cv-00090, ECF No. 121 at 2. Ms. Mey allowed that offer to lapse. Id. at 3. Unless and

until a putative class Ms. Mey represents were to be certified, that offer of judgment remains

effective. Id. at 12.

        On May 28, 2015, Defendants began serving offers of judgment to each Plaintiff in this

MDL, in full satisfaction of their claims. For example, in the underlying case Mey, et al. v.

Honeywell, Int’l, Inc., et al., Case No. 2:12-cv-01721 (S.D. W. Va.), which was transferred to

this MDL on April 3, 2014, defendants Monitronics, Honeywell, and the ISI Defendants served

plaintiff Diana Mey with an offer of judgment in the total amount of $50,000.00, and providing

for additional relief, as set forth therein. Similarly, in the underlying case Mey v. Monitronics

Int’l, Inc., et al., Case No. 5:11-cv-90 (N.D. W. Va.), which was consolidated for coordinated

pretrial proceedings in this MDL on December 19, 2013, defendants Monitronics, VMS and

UTCFS served plaintiff Diana Mey with an offer of judgment in the total amount of

$120,240.00, and providing for additional relief, as set forth therein. Defendants are in the

process of tendering Rule 68 offers of judgment to all plaintiffs in this MDL.




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         Following service of VMS’ offer of judgment, Ms. Mey moved to strike the offer as
inconsistent with Federal Rule of Civil Procedure 23. This Court denied Ms. Mey’s motion, but
asserted it would “disappear” if the proposed class were certified. Memorandum Opinion and
Order at 9, Member Case Dkt. 11-cv-00090, ECF No. 121. Should the Supreme Court rule for
petitioners in Campbell-Ewald, the Rule 68 offer would not disappear; the Plaintiffs’ class claims
would.


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                                            ARGUMENT

  I.     The Supreme Court Will Resolve A Circuit Split Regarding the Effect of a Rule 68
         Offer on Class Action Claims

            a. Rule 68 Standards

         Federal Rule of Civil Procedure 68 allows any “party defending against a claim [to] serve

on an opposing party an offer to allow judgment on specified terms.” Fed. R. Civ. P. 68(a). This

can be done at any time “[a]t least 14 days before the date set for trial.” Id. If the offer is

accepted, judgment is entered in the offeree’s favor. Id. If the offer is not affirmatively accepted

within 14 days, it is considered withdrawn. Id. 68(b). If an offer is withdrawn or rejected, and

the offeree ultimately obtains a judgment that is not more favorable than the Rule 68 offer of

judgment, “the offeree must pay the [offeror’s] costs incurred after the offer was made.” Id.

68(d).

         An offer of judgment may tender to a plaintiff all of the relief she seeks—i.e., an offer in

full satisfaction of her claims. If such an offer is accepted, the plaintiff’s claims will be

dismissed and the matter concluded. Id. 68(a). Under Fourth Circuit precedent, if unaccepted or

withdrawn, that individual plaintiff’s claims become moot and the court loses subject matter

jurisdiction. See Zimmerman v. Bell, 800 F.2d 386, 390 (4th Cir. 1986) (defendants offered

individual plaintiff “the full amount of damages ($3,281.25) to which she claimed individually to

be entitled, there was no longer any case or controversy”); Milbourne v. JRK Residential Am.,

LLC, No. 3:12CV861, 2014 WL 1369378, at *3 (E.D. Va. Apr. 7, 2014) (“When an individual

plaintiff rejects a defendant’s complete Rule 68 offer of judgment, that plaintiff no longer has a

‘stake in the outcome’ and there is no longer a justiciable case or controversy.”). Indeed, in this

instance, a plaintiff’s “personal stake in the outcome . . . disappear[s], and federal courts do not

sit simply to bestow vindication in a vacuum.” Zimmerman, 800 F.2d at 390.


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           b. Rule 68 Effect on Individual and Class Claims

       “Article III, §2, of the Constitution limits the jurisdiction of federal courts to Cases and

Controversies, which restricts the authority of federal courts to resolving the legal rights of

litigants in actual controversies.” Genesis Healthcare Corp. v. Symczyk, 133 S. Ct. 1523, 1528

(2013) (citation and internal quotation marks omitted). To have standing, “a plaintiff must

demonstrate that he possesses a legally cognizable interest, or ‘personal stake,’ in the outcome of

the action.” Id. (citations and internal quotation marks omitted).

               A corollary to this case-or-controversy requirement is that “an
               actual controversy must be extant at all stages of review, not
               merely at the time the complaint is filed.” If an intervening
               circumstance deprives the plaintiff of a “personal stake in the
               outcome of the lawsuit,” at any point during litigation, the action
               can no longer proceed and must be dismissed as moot.

Id. (citations omitted) (internal quotation marks omitted).

       As the Fourth Circuit held, “a change in factual circumstances” since the complaint’s

filing “can moot a case; for example, ‘when the claimant receives the relief . . . she sought to

obtain through [her] claim,’ her case becomes moot.” Warren v. Sessoms & Rogers, P.A., 676

F.3d 365, 370 (4th Cir. 2012) (alteration in original) (citations omitted); see e.g., Williams v.

Ozmint, 716 F.3d 801, 809 (4th Cir. 2013) (“[The plaintiff] already has received the restoration

of his visitation privileges that he requested in his complaint.”); Rhodes v. E.I. du Pont de

Nemours & Co., 636 F.3d 88, 98-100 (4th Cir. 2011) (declining to review merits of denial of

class action certification where appellants subsequently dismissed related claims and thus lacked

standing to pursue appeal). In particular, “[w]hen a Rule 68 offer unequivocally offers a plaintiff

all of the relief she sought to obtain, the offer renders the plaintiff’s action moot.” Warren, 676

F.3d at 371 (citations and internal quotation marks omitted). A Rule 68 offer, moreover, need

not be accepted in the Fourth Circuit to moot a claim. See, e.g., Zimmerman, 800 F.2d at 388,


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390; Bradford v. HSBC Mortg. Corp., 280 F.R.D. 257, 258, 263 (E.D. Va. 2012) (Ellis, J.); see

also Genesis, 133 S. Ct. at 1529 n.4 (noting that Courts of Appeals hold “that a plaintiff’s claim

may be satisfied even without the plaintiff’s consent”). A settlement offer for “full relief” may

also moot a claim “because the doctrine of mootness is . . . not constrained by the formalities of

Rule 68.” Simmons v. United Mortg. & Loan Inv., LLC, 634 F.3d 754, 764 (4th Cir. 2011).

       While the Fourth Circuit’s precedent is clear that an individual plaintiff’s claims are

mooted by virtue of an unaccepted offer of judgment for full relief, there has been some

disagreement amongst the courts as to whether an unaccepted Rule 68 offer of judgment for the

full statutory amount of the named plaintiff’s claim renders the putative class’s claims moot.

Compare Campbell-Ewald v. Gomez, 768 F.3d 871, 875 (9th Cir. 2014), cert. granted, No. 14-

857, 2015 WL 246885 (May 18, 2015) (finding unaccepted Rule 68 offer of judgment does not

moot a class action) and Weiss v. Regal Collections, 385 F.3d 337, 385, 348 (3d Cir. 2004)

(“Absent undue delay in filing a motion for class certification, therefore, where a defendant

makes a Rule 68 offer to an individual claim that has the effect of mooting possible class relief

asserted in the complaint, the appropriate course is to relate the certification motion back to the

filing of the class complaint.”) with Damasco v. Clearwire Corp., 662 F.3d 891, 896 (7th Cir.

2011) (when a defendant makes an offer of full relief under Rule 68 before class certification, the

putative class action becomes moot along with the named plaintiff’s claim).

       In Klein v. Verizon Online LLC, Case No. 14-1660, the Fourth Circuit was poised to

address whether a valid Rule 68 offer of judgment to a named plaintiff in a putative class action

moots her putative class. That case was scheduled for oral argument, but was then continued

from the tentative calendar to await re-calendering. It is anticipated that the Fourth Circuit will

not decide Klein until the Supreme Court issues its ruling in Campbell-Ewald.



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        The Fourth Circuit has, however, addressed an analogous issue: whether voluntary

settlement of a putative class plaintiff’s claims moots the putative class. Rhodes v. E.I. du Pont

de Nemours & Co., 636 F.3d 88, 100 (4th Cir. 2011). The Court found that “when a putative

class plaintiff voluntarily dismisses the individual claims underlying a request for class

certification . . . there is no longer a self-interested party advocating for class treatment in the

manner necessary to satisfy Article III standing requirements.” Id. As such, current Fourth

Circuit precedent would warrant dismissal of Plaintiffs’ claims.

        By granting certiorari in Campbell-Ewald v. Gomez, the Supreme Court will decide in the

near term whether an offer of judgment made in full satisfaction of a named plaintiff’s claims

moots his or her putative class claims.

 II.    A Stay is Necessary Pending the Supreme Court’s Ruling in Campbell-Ewald

        A district court has the inherent power to stay proceedings “to control the disposition of

the causes on its docket with economy of time and effort for itself, for counsel, and for litigants.”

Landis v. N. Am. Co., 299 U.S. 248, 254 (1936); Int’l Nickel Co. v. Martin J. Barry, Inc., 204

F.2d 583, 586 (4th Cir. 1953). In addition to concern for “economy of time and effort for [the

court], for counsel, and for litigants,” 299 U.S. at 254, three considerations are relevant to

whether a court should exercise its discretionary power to stay proceedings under Landis: “(1)

the interests of judicial economy; (2) hardship and equity to the moving party if the action is not

stayed; and (3) potential prejudice to the non-moving party.” Kamara v. Polk, Nos. 3:12-CV-

143, et al., 2014 WL 5810456, at *3 (N.D. W. Va. Nov. 7, 2014) (summarizing the Landis

factors). Here, each factor militates in favor of staying the proceedings that have been

consolidated in this MDL pending the Supreme Court’s resolution of Campbell-Ewald and

Spokeo.



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           a. The interests of judicial economy favor granting the stay.

       Permitting discovery and other pretrial proceedings in the MDL, including expensive

expert discovery, to continue while the Supreme Court contemplates issues that may confirm that

this Court is divested of jurisdiction would be inefficient and highly prejudicial to Defendants. If

the Supreme Court finds that putative TCPA class claims are mooted under these circumstances,

all claims in this matter must be dismissed: individual claims will be moot and may not proceed

and class treatment of the claims in the MDL will be precluded.

       Indeed, courts commonly stay cases when a pending Supreme Court decision is poised to

squarely resolve a central issue in the pending case. See, e.g., Hickey v. Baxter, 833 F.2d 1005

(4th Cir. 1987) (unpublished table decision) (affirming district court order staying case pending

Supreme Court resolution of relevant issues; “We find that the district court acted within its

discretion in staying proceedings while awaiting guidance from the Supreme Court in a case that

could decide relevant issues.”); accord Cardenas v. AmeriCredit Fin. Servs. Inc., No. C 09-

04978 SBA, 2011 WL 846070 (N.D. Cal. Mar. 8, 2011) (holding that the orderly course of

justice and the balance of hardships favored the imposition of a stay pending the Supreme

Court’s resolution in Concepcion); Eagle SPE NV 1, Inc. v. S. Highlands Dev. Corp., No. 2:12-

CV-00550-MMD, 2013 WL 595821, at *3 (D. Nev. Feb. 15, 2013) (finding a stay was warranted

where the issues raised in the case before the court were similar to those raised in an appeal

pending before the Nevada Supreme Court); Kensington Physical Therapy, Inc. v. Jackson

Therapy Partners, LLC, No. 8:11-cv-02467-PWG (Md. Jan 2, 2013) (order granting motion to

stay following U.S. Supreme Court’s grant of certiorari in Genesis).

       Since the Supreme Court granted certiorari in Campbell-Ewald on May 18, two courts

have sua sponte stayed pending TCPA class actions to await the Supreme Court’s potentially



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case-dispositive ruling. See Order, Williams v. Elephant Ins. Co., et al., No. 1:14-cv-00119-

GBL-TCB (E.D. Va. May 27, 2015) (staying TCPA action pending Supreme Court’s decisions

in Campbell-Ewald and Spokeo), attached hereto as Exhibit 1; Mey v. Frontier Commc’ns Corp.,

No. 3:13-cv-01191-MPS (D. Conn.) (docket entry No. 118 entered on May 26, 2015 indicating

“the Court intends to issue an order staying or administratively closing this case”), attached

hereto as Exhibit 2.

           For these reasons, a stay pending resolution of Campbell-Ewald and Spokeo promotes

judicial economy and constitutes a more efficient use of this Court’s, and the parties’ time and

efforts.

              b. If the MDL is not stayed, Defendants could suffer hardship.

           Defendants will face hardship in the form of unnecessary litigation costs if this case is

permitted to proceed. Plaintiffs’ Liaison Counsel has recently proposed an aggressive deposition

schedule for the remainder of the discovery period, including dozens of corporate representative,

fact witness, third party and expert depositions. Defendants’ expert reports are due at the end of

July. Engaging in these discovery activities will be extremely costly to each Defendant.

           Defendants must also prepare for and take the depositions of Plaintiffs and Plaintiffs’

experts. For some Defendants, costly document review and production, and preparation of

privilege logs, remain outstanding. Following discovery, Defendants will incur substantial

expense in opposing Plaintiffs’ motion for class certification. Preparing for and arguing

Plaintiffs’ class certification motion will likewise be time consuming and costly for each

Defendant. It will also require the Court to invest significant time and resources.

           If a stay is not entered, Defendants will be forced to incur millions of dollars in litigation

costs even though the Supreme Court’s rulings may render these efforts unnecessary. See, e.g.,



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Cardenas, 2011 WL 846070, at *4 (noting injury to defendant absent a stay insofar as “there can

be no legitimate dispute that conducting further proceedings, up to and including preparing for

and conducting a trial that may ultimately be unnecessary, would result in significant litigation

costs-as well as the expenditure of judicial resources”); Eagle SPE NV 1, Inc., 2013 WL 595821,

at *3 (“Forcing the parties to go forward with this litigation and proceed with motion practice

and discovery, which may ultimately be futile in light of the Nevada Supreme Court’s decisions,

would result in unnecessary expenses and a waste of the parties[‘] and the court’s time and

resources.”) (citations omitted).

           c. Plaintiffs will not be prejudiced by granting a stay.

       There is no prejudice to Plaintiffs should this Court grant the stay Defendants seek. A

stay merely delays these proceedings until the Supreme Court settles the fundamental and

potentially dispositive issues presented in Campbell-Ewald and Spokeo. But delay is not alone

sufficient prejudice to deny Defendants’ stay motion. See Cardenas, 2011 WL 846070, at *4

(finding balance of equities relating to stay pending Supreme Court ruling favored defendant

where plaintiffs “may have shown that additional delay may result [in] some injury” but had

made “no showing with respect to any harm to themselves specifically”). Nor can Plaintiffs

show prejudice. This is not a mass tort case where the plaintiffs have suffered physical injuries

and incurred significant medical bills requiring immediate relief. Moreover, the delay in this

matter will last, at most, for one year. Having granted certiorari in May 2015, the Supreme

Court will hear oral argument in Campbell-Ewald sometime next term, and thus, must issue its

decision by June of 2016, the end of the 2015-2016 term.

       Plaintiffs will also benefit from a stay. Over the course of the next year, it’s anticipated

that, like defendants, plaintiffs will expend substantial resources in litigating their claims. This



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will all have been for naught should the Supreme Court rule in Campbell-Ewald that the Rule 68

offers of judgment to MDL plaintiffs moots their claims or rule in Spokeo that a federal statute

like the TCPA cannot create Article III standing by authorizing a remedy for a statutory violation

without any apparent injury.

       For these reasons, Defendants respectfully request that this Court grant a stay pending the

Supreme Court’s resolution of Campbell-Ewald and Spokeo.

III.   A Stay is Also Necessary Given the Supreme Court’s Grant of Certiorari in Spokeo

       This Court should likewise stay these proceedings to await the Supreme Court’s decision

in Spokeo. 742 F.3d 409 (9th Cir. 2014), cert. granted, No. 13-1339, 2015 WL 1879778 (Apr.

27, 2015). Spokeo addresses whether a violation of a federal statute ipso facto satisfies the

injury-in-fact requirement of Article III standing.6 The Court will decide whether a violation of a

federal statute with set statutory damages (the Fair Credit Reporting Act) like the TCPA,

automatically confers “Article III standing upon a plaintiff who suffers no concrete harm, and

who therefore could not otherwise invoke the jurisdiction of a federal court, by authorizing a

private right of action based on a bare violation of a federal statute.” Pet. For Writ of Cert.,

Spokeo, Inc. v. Robins, No. 13-1339, 2014 WL 1802228, at *i, 16–18 & n.17 (May 1, 2014)

(“Review here would have the additional practical benefit of resolving the same constitutional




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         To establish standing (and thus federal jurisdiction) under Article III, a plaintiff bears
the burden of showing that:
       (1) [he] has suffered an “injury in fact” that is (a) concrete and particularized and
       (b) actual or imminent, not conjectural or hypothetical; (2) the injury is fairly
       traceable to the challenged action of the defendant; and (3) it is likely, as opposed
       to merely speculative, that the injury will be redressed by a favorable decision.
Friends of the Earth, Inc. v. Laidlaw Envtl. Servs., Inc., 528 U.S. 167, 180–81 (2000).


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issue as it arises under many more federal statutes.”) (citing no fewer than seventeen additional

federal statutes implicating the Article III standing question, including the TCPA).

        The Supreme Court’s decision in Spokeo will therefore be dispositive of the fundamental

constitutional question of whether a case or controversy exists to support this Court’s jurisdiction

to hear this case. See id.; see also U.S. Const., art. III, § 2, cl. 1. Thus, this Court should also

stay the action pending the Supreme Court’s decision in Spokeo.

IV.     Plaintiffs’ Premature Class Certification Motion Has No Bearing on This Analysis

            a. Plaintiffs’ motion is premature, improper and irrelevant to the propriety of a
               stay.

        Plaintiff Diana Mey is the named plaintiff in the Mey v. Frontier Comm’n Corp. case in

the United States District Court for the District of Connecticut. Plaintiffs’ lead counsel here is

also her counsel in Frontier. On Tuesday May 26, 2015, the Frontier court granted a stay sua

sponte based on Campbell-Ewald. Mey v. Frontier Commc’ns Corp., No. 3:13-cv-01191-MPS

(D. Conn.). The next day, in an attempt to avoid that fate here, Plaintiffs improperly filed a

motion for class certification in violation of the Court’s Case Management Order. Plaintiffs’

motion is more than four months early and in direct contravention of the Court’s clear

instructions. See Court’s Pre-Trial Order # 4 – Case Management Order, MDL Dkt. 13-md-

02493, ECF No. 169, at 1 (deadline for motions related to class certification is September 15,

2015). Indeed, at the Scheduling Conference on June 5, 2014, the Court explained that the dates

in the Case Management Order are the dates upon which motions must be filed and made clear

that motions could not be filed before those dates:

        Deadlines are when you file them. In other words, I think that letting lawyers
        file motions whenever they want to is not wise. So if you want early motion--here
        comes everybody. Okay. I'm really glad I asked this question. I don't--I also
        don't think the plaintiffs should be bombarded with motions out of time and out of
        context so when I looked at this, my read is no motion practice until what’s


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        scheduled. If you want to schedule something else I need to know about it
        and tell you it[]s okay.

Mot. Hr’g/Sched.Conf. Tr. 92:7-16 (June 5, 2014) (emphasis added). In any event, Plaintiffs’

tactic has no effect on this Court’s ability to enter a stay. There is no Fourth Circuit authority

negating the ability of a court to issue a stay based on Rule 68 offers due to the mere filing of a

motion for class certification. The very fact that Plaintiffs have taken this extreme measure

signals their acknowledgement that a stay under these circumstances is proper. See, e.g.,

Plaintiffs’ Mem. in Support at 3, MDL Dkt. 13-md-02493, ECF No. 417-1 (“because of the

uncertainty in the law due to the United States Supreme Court’s recent grant of certiorari in

[Campbell-Ewald], in an abundance of caution Plaintiffs and the proposed members of the

classes file this motion.”).

            b. If the Court finds Plaintiffs’ motion is properly filed, Defendants seek an
               opportunity to oppose it without further discovery or delay

        Plaintiffs chose to file an improper, untimely motion for class certification to preempt

Defendants’ Rule 68 offers of judgment and a motion to stay, which they were aware were about

to issue. But Plaintiffs cannot have it both ways. Should this Court decide that Plaintiffs’

motion is appropriately considered at this time, Defendants respectfully request the opportunity

to oppose the motion as is, without further discovery or delay. If Plaintiffs are permitted to

ignore the Court’s Case Management Order and file a motion that is transparently improper, they

should be forced to stand by this motion and briefing should proceed on the motion Plaintiffs

chose to file.




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                                          CONCLUSION

       For the foregoing reasons, this matter should be stayed pending the Supreme Court’s

decisions in Campbell-Ewald and Spokeo. In the alternative, briefing should proceed on

Plaintiffs’ motion for class certification without further discovery.


May 29, 2015                                          Respectfully submitted,

                                                       /s/ Jeffrey A. Holmstrand
                                                      Jeffrey A. Holmstrand
                                                      Flaherty Sensabaugh Bonasso, PLLC
                                                      PO Box 6545
                                                      Wheeling, WV 26003
                                                      304-230-6600
                                                      304-230-6610 (Fax)

                                                      Defense Liaison Counsel and Counsel for
                                                      Defendant Monitronics International, Inc.

                                                      John R. Teare , Jr.
                                                      Spilman Thomas & Battle PLLC
                                                      300 Kanawha Blvd E
                                                      P. O. Box 273
                                                      Charleston, WV 25321-0273
                                                      304-340-3800
                                                      304-340-3801 (Fax)

                                                      Counsel for Defendant Alliance Security, Inc.




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                                          Jeffrey L. Poston (admitted pro hac vice)
                                          Rebecca B. Chaney (admitted pro hac vice)
                                          CROWELL & MORING LLP
                                          1001 Pennsylvania Avenue, N.W.
                                          Washington, D.C. 20004
                                          (202) 624-2500
                                          (202) 628-5116 (Fax)

                                          Gordon H. Copland
                                          STEPTOE & JOHNSON PLLC
                                          400 White Oaks Blvd.
                                          Bridgeport, WV 26330
                                          (304) 933-8162
                                          (304) 933-8183 (Fax)

                                          Counsel for Defendant UTC Fire and Security
                                          Americas Corporation, Inc.

                                          Lauri A. Mazzuchetti
                                          KELLEY DRYE & WARREN LLP
                                          One Jefferson Road, 2nd Floor
                                          Parsippany, NJ 07054
                                          (973) 503-5900
                                          (973) 503-5950 (Fax)

                                          Counsel for Defendant Honeywell
                                          International, Inc.

                                          Robert B. Newkirk , III
                                          Newkirk Law Office, P.A.
                                          P.O. Box 2536
                                          19810 W. Catawba Avenue
                                          Cornelius, NC 28031
                                          (704) 892-5898
                                          (704) 892-5633 (Fax)

                                          Counsel for ISI Alarms NC, Inc.




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